CaSe liOQ-CV-OJ_O?O-R.].]-HWB ECF NO. 68 filed 08/12/10

UNITED STATES DISTRIET EUURT
FUR THE
UESTERN DISTRIBT UF MICHIGAN

PERRY VINCENT BRADLEV,

Plaintiff,

RIEHARD HALLUDRTH, ET AL.,

Defendant(s).

JULIA R. BELL (P35367)

Attorney for MDDC Defendants

Michigan Department of Attnrney General
Corrections Division

P.U. Box 30217

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(517) 335-7021

Perry Vincent Bradley #176332
In Pro Per

Lakeland Borrectiunal Facility
141 First Street

Cnldwater, MI h9036

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CASE ND. 1:09-cv-1U7D
HDNURABLE RDBERT J. JGNKER

MAG. HUGH U. BRENNEMAN, JR.

CDLLINS,EINHORN,FARRELL,&ULANUFF,P.C.
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PLAINTIFF'S MOTIUN FDR CLARIFICATIDN AND
RENEMED MUTIUN FDR APPUINTMENT UF LEGAL CDUNSEL

Nnu comes the Plaintiff, Perry Bradley, In Pro Per, and respectfully moves

this Duurt and the defendants to explain to the Plaintiff the following:

1. what dues the Notice, of the deposition of Duane matars-Med records,

scheduled fur Jul¥ 27, 2010 at 9:00 a.m., mean?;

2. why was the Nutice, dated July B, 2010, certified by Carrie J. Beeser

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and notarized by Eail M. white to have been sent to the Plaintiff on July Bz
ggl§, when the envelope used to send said Notice to the Plaintiff was postmarked
duly 29, 2010, and received by the Pleintiff on Monday, Au§ust 2, 2010? (see
attached copy of the Notice and the envelope);

3. The Plaintiff renews his respectful request and Motion for the
appointment of legal counsel as it appears that Defenee Counsel Richard Joslin
Jr., has failed to apprise the Plaintiff in a timely fashion of the Notice
referenced herein and that the proof of service of same has clearly been
misrepresented to this Court and the Plaintiff. Plaintiff'a lack of legal
training, and failure to understand or appreciate the manner in which a proof of
service has been misrepresented deliberately to this Court and to the Plaintiff,

renders the Plaintiff legal rights in a most vulnerable and precarious position.

Date: August 9, 2010

Respectfully submitted

 

Lakelend Correctional Facility
141 Firet Street
Coldmater, MI h9036

